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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.4
                                 Eastern Division

Allan Kustok
                          Plaintiff,
v.                                              Case No.: 1:21−cv−06932
                                                Honorable Matthew F. Kennelly

                          Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Saturday, March 5, 2022:


        MINUTE entry before the Honorable Matthew F. Kennelly: Unopposed motion for
leave to file memorandum [14] is granted. Petitioner's memorandum in support of petition
for habeas corpus is to be filed by 4/20/2022. (mk)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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